Case 2:22-cv-14102-DMM Document 275 Entered on FLSD Docket 10/12/2022 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

   DONALD J. TRUMP,

                             Plaintiff,

   v.                                               CASE NO. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, HFACC, INC.,
   DEMOCRATIC NATIONAL COMMITTEE,                   NOTICE OF CIVIL APPEAL
   DNC SERVICES CORPORATION,
   PERKINS COIE, LLC, MICHAEL
   SUSSMANN, MARC ELIAS, DEBBIE
   WASSERMAN SCHULTZ, CHARLES
   HALLIDAY DOLAN, JR., JAKE
   SULLIVAN, ADAM SCHIFF, JOHN
   PODESTA, ROBERT E. MOOK, PHILLIPE
   REINES, FUSION GPS, GLENN SIMPSON,
   PETER FRITSCH, NELLIE OHR, BRUCE
   OHR, DEFENDANT BUSINESS
   INTELLIGENCE, LTD., CHRISTOPHER
   STEELE, IGOR DANCHENKO, NEUSTAR,
   INC., NEUSTAR SECURITY SERVICES,
   RODNEY JOFFE, JAMES COMEY, PETER
   STRZOK, LISA PAGE, KEVIN
   CLINESMITH, ANDREW MCCABE,
   ROD ROSENSTEIN, JOHN DOES 1
   THROUGH 10 (said names being fictitious
   and unknown persons),
   and ABC CORPORATIONS 1 THROUGH 10
   (said names being fictitious and unknown
   entities),

                             Defendants.


         Notice is hereby given that the plaintiff, Donald J. Trump, appeals to the

   United States Court of Appeals for the Eleventh Circuit from the Order of the Hon.

   Donald M. Middlebrooks entered on September 8, 2022 (ECF No. 267) in the instant

   action.
Case 2:22-cv-14102-DMM Document 275 Entered on FLSD Docket 10/12/2022 Page 2 of 3




   Dated: October 11, 2022                 Respectfully submitted,



                                           /s/ Jared Roberts
                                           Jared J. Roberts (FL Bar #1036550)
                                           BINNALL LAW GROUP, PLLC
                                           717 King Street, Suite 200
                                           Alexandria, VA 22314
                                           Tel: (703) 888-1943
                                           Fax: (703) 888-1930
                                           jared@binnall.com

                                           Counsel for Donald J. Trump
Case 2:22-cv-14102-DMM Document 275 Entered on FLSD Docket 10/12/2022 Page 3 of 3




                              CERTIFICATE OF SERVICE


         I hereby certify that on October 11, 2022, a true copy of the foregoing was sent

   via first class, postage prepaid, to all attorneys of record as listed on the Court’s

   CM/ECF for this matter.



   Dated: October 11, 2022                       /s/ Jared Roberts
                                                 Jared J. Roberts

                                                 Counsel for Donald J. Trump




                                             3
